 Case 3:15-md-02670-JLS-MDD Document 1368 Filed 09/13/18 PageID.93055 Page 1 of 1


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 6                          UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                       Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                   ORDER SETTING BRIEFING
11                                                 SCHEDULE
12                                                 (ECF No. 1365)
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15         Presently before the Court is the United States’ Motion for Stay of Discovery in
16   Associated Wholesale Grocers, Inc. v. Bumble Bee Foods, LLC et al. (ECF No. 1365).
17   Plaintiff Associated Wholesale Grocers, Inc. and Defendant Christopher Lischewski
18   SHALL file their Oppositions to the Motion on or before October 4, 2018. The United
19   States SHALL file a Reply in Support of the Motions on or before October 11, 2018. The
20   Court HOLDS IN ABEYANCE all discovery pertaining to the claims by Associated
21   Wholesale Grocers against Mr. Lischewski pending the Courts ruling on the motion.
22         IT IS SO ORDERED.
23   Dated: September 13, 2018
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                                                                         15-MD-2670 JLS (MDD)
